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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          INVITAE CORPORATION               ,           Case No. 4:22-cv-00784-HSG
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                   v.                                       ATTORNEY PRO HAC VICE;
                                   6
                                                                                            ORDER
                                   7          OPTRAHEALTH, INC.                 ,           (CIVIL LOCAL RULE 11-3)
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Erin Kelly                   , an active member in good standing of the bar of

                                  11    Colorado                              , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Invitae Corporation                in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is K. Lee Marshall                   , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _277092____________.

                                  16
                                       1700 Lincoln Street, Ste 4100, Denver, CO            Three Embarcadero Ctr., San Francisco, CA
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (303) 866-0422                                       (415) 675-3444
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       Erin.Kelly@bryancave.com                             klmarshall@bclplaw.com
                                  20   MY EMAIL ADDRESS OF RECORD                            LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 40231                .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: July 5, 2022                                           Erin Kelly
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                     ORDER GRANTING APPLICATION

                                   9                                FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Erin Kelly                              is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                       Dated:            7/8/2022
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                                                                                  UNITED STATES DISTRICT JUDGE
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                                       Updated 11/2021                                   2
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   STATE OF COLORADO, ss:

           I,      Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
   o f Colorado, do hereby certify that
                          Erin Anne Kelly


has been duly licensed and admitted to practice as an




 within this State; and that his/her name ap pears upon the Roll of Attorneys

 a nd Counselors at Law in my office of date the                    27th

 day of    October                             A.D.      2008      and that at the date hereof

the said        Erin Anne Kelly                 is in good standing a t this Bar.


                              IN WITNESS WHEREOF, I have hereunto subscribed my name and
                              affixed the Seal of said Supreme Court, at Denver, in said State, this

                                    28th       day of           June                      A.D.   2022
